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DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

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In Re:

KYLE L. MAYS
MARISA L. SCURA

/24 Entered 05/28/24 14:51:25 Desc
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Case No.: 20-16908-CMG
Chapter 13

Judge: Christine M. Gravelle, USBJ

ORDER AUTHORIZING
SALE OF REAL PROPERTY

Recommended Local Form: O Followed ® Modified

The relief set forth on the following pages, numbered two (2) through (3) is hereby ORDERED.
Case 22-18215-CMG ~—Doc 32-3 Filed 05/28/24 Entered 05/28/24 14:51:25 Desc
Proposed Order Page 2 of 2
After review of the Debtors’ motion for authorization to sell the real property commonly known as 631

Park Avenue, Union Beach Borough, Monmouth County, New Jersey (the Real Property),

IT IS hereby ORDERED as follows:
1. The Debtor is authorized to sell the Real Property on the terms and conditions of the Contract of Sale

pursuant to 11 U.S.C. §§ 363(b) and 1303.

2. The proceeds of sale must be used to satisfy the liens on the real property unless the liens are otherwise
avoided by court order. Until such satisfaction, the real property is not free and clear of liens. All mortgages
will be paid in full at closing as per the payoff statement to be issued the mortgagee.

3. & In accordance with D.N.J. LBR 6004-5, the Notice of Proposed Private Sale included a request to pay the

real estate broker at closing. Therefore the following professionals may be paid at closing.

Name of professional: Mary Gail Gallagher / Weichert Realtors
Amount to be paid: not to exceed 5.0% total commission including participating realtor
Services rendered: Realtor

4. Other closing fees payable by the Debtors may be satisfied from the proceeds of sale and adjustments to the

price as provided for in the contract of sale may be made at closing.

6. The balance due on the debtors’ Chapter 13 Plan must be paid to the Chapter 13 Trustee in the Debtors’ case.

7. A copy of the HUD settlement statement or Closing Disclosure Statement, whichever is provided by the

settlement agent, must be forwarded to the Chapter 13 Trustee within 7 days after closing.
